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 1   DINA L. SANTOS, Bar #204200
     A Professional Law Corporation
 2   428 J Street, 3rd Floor
     Sacramento, California 95814
 3   Telephone: (916) 447-0160
 4
 5   Attorney for Defendant
     JOSE GILBERTO LOPEZ
 6
 7                      IN THE UNITED STATES DISTRICT COURT
 8                    FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
11   UNITED STATES OF AMERICA,       )     No. CR-S 12-0370 MCE
                                     )
12                  Plaintiff,       )
                                     )     STIPULATION AND ORDER VACATING
13        v.                         )     DATE, CONTINUING CASE, AND
                                     )     EXCLUDING TIME
14   Jose Gilberto Lopez, et al,     )
                    Defendant.       )
15                                   )     Date   May 30, 2013
     _______________________________ )     Time: 9:00 a.m.
16                                   )     Judge: Hon. England
17
18        IT IS HEREBY STIPULATED by and between Assistant United States
19   Attorney Olosere Olowoyeye, Counsel for Plaintiff, and Attorney Dina L.
20   Santos, Counsel for Defendant Jose Gilberto Lopez; Attorney Jeffrey
21   Staniels, Counsel for Yoni Sosa; Attorney Clemente Jiminez, Counsel for
22   Antonio Silva, that the status conference scheduled for April 11, 2013,
23   be vacated and the matter be continued to this Court's criminal
24   calendar on May 30, 2013,at 9:00 a.m. for further status.
25        This continuance is requested by the defense in order to permit
26   counsel to continue in negotiations with the prosecution in attempt to
27   reach a resolution.
28        The parties further stipulate and agree that the Court shall find
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 1   that:   (1) the failure to grant a continuance in this case would deny
 2   defendant and defense counsel reasonable time necessary for effective
 3   preparation, taking into account the exercise of due diligence; (2) the
 4   ends of justice to be served by granting the requested continuance
 5   outweigh the best interests of the public and the defendant in a speedy
 6   trial; and (3) the time period from the date of this stipulation, to
 7   and including, the new status conference hearing shall be excluded from
 8   computation of time within which the trial of this case must be
 9   commenced under the Speedy Trial Act, 18 U.S.C. § 3161(h)(7)(A) and
10   (B)(iv), and Local Code T4 pertaining to defense preparation.
11        It is further stipulated that all parties have conferred and
12   agreed to the May 30,2013 date, and that all parties have consented to
13   Ms. Santos signing and submitting this stipulation.
14
15        IT IS SO STIPULATED.
16
17   Dated: April 9, 2013                      /S/ Dina L. Santos
                                              DINA L. SANTOS
18                                            Attorney for
                                              Jose Gilberto Lopez
19
     Dated: April 9, 2013                      /S/ Jeffrey Staniels
20                                            JEFFREY STANIELS
                                              Attorney for
21                                            Yoni Sosa
22   Dated: April 9, 2013                      /S/ Clemente Jiminez
                                              CLEMENTE JIMINEZ
23                                            Attorney for
                                              Antonio Silva
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25
26
27   Dated: April 9, 2013                      /S/ Olosere Olowoyeye
                                              OLOSERE OLOWOYEYE
28                                            Assistant United States Attorney


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 1                                        O R D E R
 2               The status conference scheduled for April 11, 2013, be vacated
 3   and the matter be continued to this Court's criminal calendar on May
 4   30, 2013,at 9:00 a.m. for further status.
 5          IT IS SO ORDERED.
 6   Date: April 11, 2013

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                                         _____________________________________________
 9                                       MORRISON C. ENGLAND, JR., CHIEF JUDGE
                                         UNITED STATES DISTRICT JUDGE
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